     Case 6:22-cv-00372-JDK Document 95 Filed 12/28/22 Page 1 of 1 PageID #: 1903




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                               §
TEXAS MEDICAL ASSOCIATION, et                  §
al.,                                           §
                                               §
           Plaintiffs,                         §
                                               §
v.                                             §    Case No. 6:22-cv-372-JDK
                                               §
UNITED STATES DEPARTMENT OF                    §
HEALTH AND HUMAN SERVICES,                     §
et al.,                                        §
                                               §
           Defendants.                         §
                                               §

                                  SCHEDULING ORDER
            Based upon the parties’ Joint Response to the Court’s Order of

 December 20, 2022, Docket No. 93, the Court ORDERS that the briefing schedule in

 this case is as follows:

       •    Defendants shall file their Combined Opposition to East Texas Air One’s
            Motion for Summary Judgment and Cross-Motion for Summary Judgment as
            to East Texas Air One on or before January 19, 2023.

       •    East Texas Air One shall file its Reply in Support of its Motion for Summary
            Judgment and Opposition to Defendants Cross-Motion for Summary Judgment
            on or before February 3, 2023.

       •    Defendants shall file their Reply in Support of their Cross-Motion for Summary
            Judgment as to East Texas Air One on or before February 17, 2023.

 No further briefing will be considered without leave of the Court.

       So ORDERED and SIGNED this 28th day of December, 2022.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE
